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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION

  ROGER TODD,                                        )
                                                     )
                               Plaintiff,            )
                                                     )
                          v.                         )       No. 2:19-cv-00085-JMS-DLP
                                                     )
  OCWEN LOAN SERVICING, INC.,                        )
  DEUTSCHE BANK NATIONAL TRUST                       )
  CO., as Trustee for NovaStar Mortgage              )
  Funding Trust, Series 2007-1,                      )
                                                     )
                               Defendants.           )

                                               ORDER

        This matter comes before the Court on the parties’ Joint Motion to Amend

  Case Management Deadlines, Dkt. [105]. The Court, being duly advised, hereby

  GRANTS IN PART said Motion. The CMP deadlines will be amended as follows:

   Description                              Old Deadline            New Deadline

   Non-expert Discovery                     March 17, 2020          June 15, 2020

   Dispositive Motions Due                  May 18, 2020            August 16, 2020

   Expert Witness Discovery                 August 16, 2020         September 25, 2020


        The settlement conference scheduled for March 5, 2020 has been

  rescheduled to June 18, 2020 at 1:30 p.m. in Room 255, United States District

  Court, 46 East Ohio Street, Indianapolis, Indiana.

        So ORDERED.

        Date: 1/22/2020
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  Distribution:
  All ECF-registered counsel of record.
